981 F.2d 1259
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Esiguio CHAN-CABALLERO, Defendant-Appellant.
    No. 92-50125.
    United States Court of Appeals, Ninth Circuit.
    Submitted Dec. 11, 1992.*Decided Dec. 16, 1992.
    
      Before FERGUSON, CANBY and DAVID R. THOMPSON, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Esiquio Chan-Caballero appeals the sentence he received after he pleaded guilty to a one-count indictment charging him with illegal reentry into the United States, in violation of 8 U.S.C. § 1326.   The indictment did not allege a prior felony conviction and, therefore, it charged Chan-Caballero with a violation of 8 U.S.C. § 1326(a), simple reentry after deportation.   See United States v. Campos-Martinez, No. 91-50756, slip op. 11877 (9th Cir.  Oct. 5, 1992).  "The maximum sentence for that charge is two years in prison."   United States v. Arias-Granados, 941 F.2d 996, 997 (9th Cir.1991).   Chan-Caballero received a sentence that exceeded the statutory two-year maximum.   Therefore, we vacate the sentence and remand for resentencing.
    
    
      3
      SENTENCE VACATED AND REMANDED FOR RESENTENCING.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a) and Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Cir.R. 36-3
      
    
    